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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

 ILUSTRATA SERVICOS DESIGN, LTDA.,

                        Plaintiff,
                                                       Case No. 1:23-cv-04824
        v.
                                                       Hon. LaShonda A. Hunt
 PDD HOLDINGS, INC., a Cayman Islands
 corporation, WHALECO, INC., a Delaware                JURY TRIAL DEMANDED
 corporation, and DOES 1-10,

                        Defendants.

  DECLARATION OF XIYAO DI IN SUPPORT OF DEFENDANT PDD HOLDINGS,
    INC.’S MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL
                         PROCEDURE 12(B)(2)

I, Xiyao Di, declare as follows:

       1.      I am at least 18 years of age, and am authorized to make representations on behalf

of PDD Holdings, Inc. (“PDD”).

       2.      I submit this declaration in support of PDD’s motion to dismiss this lawsuit for

lack of personal jurisdiction over PDD.

       3.      PDD is a Cayman Islands corporation with its principal executive office at First

Floor, 25 St. Stephen’s Green, Dublin 2, D02 XF99, Ireland.

       4.      PDD serves as a holding company of its subsidiaries. PDD does not itself

conduct any substantial business.

       5.      PDD has no offices or property in Illinois.

       6.      PDD does not sell any products, and thus does not sell any products in Illinois.

       7.      PDD does not operate any social media accounts in relation to the operation of

Temu platform.

       8.      PDD does not operate any website in relation to the operation of Temu platform.
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      9.     PDD does not specifically target any website or business toward Illinois.

      10.    PDD does not operate the Temu platform.

      11.    WhaleCo., Inc. (“WhaleCo”) is a subsidiary of PDD.

      12.    WhaleCo is a Delaware corporation with a principal place of business at 31 St.

James Avenue, Boston, Massachusetts 02116.

      13.    WhaleCo operates the Temu platform in the United States.

                                      *       *      *
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